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(Full Name of Plaintiff) Plaintiff, G CVS W/)..
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(Full Name of Defendant) , ) i
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feictl, Tk ) CIVIL RIGHTS COMPLAINT ’
|) 3 Clune LyKe ) BY A PRISONER
)
| (4) Mex. Wile? Ch Se Lin , )  ©Original Complaint
Defendant(s). ) (First Amended Complaint
Teck itihert are additional Defendants and altech page 1-A sting them CSecond Amended Com plajat : -
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A. JURISDICTION i Ly o
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: 1. This Court has jurisdiction over il action pursuant to: wife S ji KOO fo ‘
| [428 U.S.C. § 1343(a); 42 U.S.C. § 1983

 

S.C. § 1331; Bivens v. Six Unknown Federal Narcotics A, ents, 403 USS. 388 8 (1971).

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B. DEFENDANTS
1. Name of first Defendant: 2/17 _ AWE WGI E
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* 2. Name of second Defendant: Awl nda. SAVICGHEZ._. The second Defendant is is pope Df
eG LIDIA alee vey at Spep2T vie ©, DAG WeMe
’ (Position and Title) (Institution)
. Name ofhird Defefidant: LUKE . The third Defendant is employed as:
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If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.

 

C. PREVIOUS LAWSUITS

 

 

1. Have you filed any other lawsuits while you were a prisoner? Ws L) No '
2. If yes, how many lawsuits have you filed? 3 . Describe the previous lawsuits . .
a. First prior lawsuit:
1. Parties: WKY WW Vier. ck bles, SK. v. Dave l Leland CLAP.
2. Court and case number: < V- 0/5 §/ (MicE CKD) Po
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b. Second prior lawsuit:

 

   

 

 

  
 
 

 

 

 

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c. Third prior wsuit: (Lak OI, if AV fKeefLe of THE A
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Case 2:21-cv-00989-KJM-AC Document1 Filed 06/03/21 Page 4 of 19 \

, . D. CAUSE OF ACTION cp
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ae a CCAIMT YT Ch, dict jg

1. State the constitutional or thy federal civil right that was violated:
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2. Claim I. Identify the issue involved. Check only one. State additional issues in separate claims.
[] Basic necessities C] Mail L] Access to the court L] Medical care

L] Disciplinary proceedings (J Property CL] Exercise of religion

LY, ia
LI Excessive force by an officer [_] Threat to safety M otner: Aickt eZ f 1Z4 ect
CON STVRAGI-, (Ae
3. Supporting Facts. State as briefly as possible the FACTS supporting Claim I. Describe exactly what each
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal

    

 

 

 

 

* authority or arguments. -
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5. Administrative Remedies: ok
‘ a. Arethere any administrative remedies (grievance procedures or administrative appeals) available at your

‘ institution? Ll Yes [No | |
b. Did you submit a request for administrative relief on Claim I? . Ll Yes [UNo
c. Did you appeal your request for relief on Claim I to the highest level? Llyes LNo , i

d. If you did not submit or appeal a request for administrative relief at any level, Oey explain why you
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CLAIM II Ij.
| 1. State the constitutional or other iperal civil right that was violated: f Tf - ft: a CO Ab i f- fll)
| | SAivitvid rr leti] ttl, Le: . .

2. Claim II. Identify the issue involved. ck only one. State additional issues in separate claims.
' LI Basic necessities Mail LJ Access to the court L] Medical care

LI Disciplinary proceedings LJ Property L) Exercise of religion L] Retaljation

’ C Excessive force by an officer C] Threat to safety [A Other: Lipee. bf eK. fete Le Sf Ae
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3. Supporting Facts. State as briefly as possible the FACTS supporting Claim II. Describe exactly what each
‘ Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
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5. Administrative Remedies. . ao
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b. Did you submit a request for administrative relief on Claim II? Py ; LINo
c. Did you appeal your request for relief on Claim II to the highest level? Yes LINo ||
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ase 2:21-cv-00989-KJM-AC Document 1 Filed 06/03/21 Page 15 of 19
SACRAMENTO COUNTY SHERIFF’S OFFICE
CORRECTIONAL SERVICES GRIEVANCE REPLY FORM

 

| GRIEVANCE #: 2021-1279

 

PRIMARY INMATE NAME (PRINT LAST, FIRST, MIDDLE) XREF NUMBER LOCATION DATE
Miles, Maurice 5073383 8W202 04/22/2021

 

 

 

 

 

STATEMENT OF PROBLEM: Inmate Miles stated in his grievance his mail from The State Bar of
California was not treated as legal mail and should not have been opened by a deputy. .

INVESTIGATION: _ | reviewed the Correctional Services Inmate Handbook, Operations Order 6/15
Inmate Correspondence, and The State Bar of California’s website.

FINDINGS: The Operations Order as well as the Correctional Services Inmate Handbook stated
the following, Inmates may correspond, [confidentially] with State and Federal courts, (memberslof
he State Barjand other licensed attorneys o al representatives, holders of public office
(including elected local, state and federal officials), the U.S. Department of Homeland Security
(including U.S. Immigration and Customs Enforcement.and its various subdivisions), the U.S.
Department of Justice, embassies and consulates, health care professionals, judges, the
Corrections Standards Authority.

 
 
 
 
 
 
  

The following is from The State Bar of California’s website: The State Bar of California is the
regulatory arm of the California Supreme Court responsible for licensing and disciplining attorneys.

(Based on the aforementioned Operations Order, Inmate Handbook,Jand The State Bar of
California’s website, correspondence directly from The State Bar of California does not constitute
legal mail.

 

It should be noted, any legal mail sent to an inmate at the Sacramento County Main Jail will be

opened in front of the recipient, so the mail can be inspected for contraband, but not read by deputy
opening the mail.

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: | 2. Claim III. Identify the issue involved. Check only one. State additional issues in separate claims.

CL Basic necessities CL Mail [J Access to the court C1 Medical care

w | CJ Disciplinary proceedings L} Property UC Exercise of religion _ Retaliation |
CI Excessive force by an officer O] Threat to safety Wf Other: A¥cKEth ee £4 vA) oe. eresp nici pe

 

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3. Supporting Facts. State as briefly as possible the FACTS supporting Claim III. Describe exactly what each |
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Defendant did or did not do that violated your rights. State the facts clearly in your own words ‘without citing legal
\ authority or arguments. Tr RE. CEGERLIN(IGEINI2? CAL, 249, PEEL LS F2 §2§.--

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. 5. Administrative Remedies.
a. Arethere any administrative remedies (grievance procedures or administrative appeals) avaiJable at your

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E. REQUEST FOR RELIEF '

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I declare under penalty of perjury that the foregoing is true and correct.

Executed on ——> 350 Zo LL Mh l Le, ki pRfigt~—

DATE SIGNATURE OF PLAINTIFF

 

(Name and title of paralegal, legal assistant, or
other person who helped prepare this complaint)

 

(Signature of attorney, if any)

 

 

 

 

 

\ (Attomey’s address & telephone number)

ADDITIONAL PAGES

All questions must be answered concisely in the proper space on the form. If you need more space you may attach
more pages, but you are strongly encouraged to limit your complaint to twenty-five pages. If you attach
, additional pages, be sure to identify which section of the complaint is being continued and number all pages.
Remember, there is no need to attach exhibits to your complaint. .

 

 
